
Burke, J. (concurring).
I concur for reversal on the ground that, on this record, it is evident that this is not a case where there is only a known injury with unknown consequences. Rather, as Justice Sweeney, who originally approved the settlement, found, this is a case in which there is an injury which was unknown to the parties. There was a mutual mistake as to its existence as well as to the consequences of the unknown injury. This is, therefore, the rare case in which the release should be set aside.
Chief Judge Fuld and Judges Scileppi, Bebgan, Keating and Jasen concur; Judge Bubke concurs in a memorandum.
Order reversed, without costs, and case remitted to Special Term for further proceedings in accordance with the opinion, herein.
